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       and Human Rights Watch
  15

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  17                      UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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       JENNY L. FLORES, et al.,                    Case No. CV-85-4544 DMG (AGRx)
  21
                                     Plaintiffs,   COMMENTS OF AMICI AMNESTY
  22                                               INTERNATIONAL, HUMAN
             v.                                    RIGHTS WATCH, AND LEGAL
  23                                               SERVICE PROVIDERS ON DRAFT
       WILLIAM P. BARR,                            NOTICE
  24   Attorney General, et al.,
  25                               Defendants.
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  31      COMMENTS OF AMNESTY INT’L, HRW, AND LEGAL SERVICE PROVIDERS ON DRAFT NOTICE
                                CASE NO. CV-85-4544 DMG (AGRX)
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   1          Amici Amnesty International USA, Human Rights Watch, RAICES, Proyecto
   2   Dilley, and Aldea – the People’s Justice Center jointly provide the following com-
   3   ments to the proposed Notice of Rights to supplement the discussion between the
   4   parties.
   5          A.    Written Explanation of Decision Not to Release
   6          Both Plaintiffs and amici favor noting that, if the government elects not to
   7   release an individual, the government should provide “an explanation of its decision
   8   not to release you and the right to have a federal court review your detention.” Such
   9   an explanation falls well within the purview of the FSA. See FSA ¶ 24.
  10          Amici believe that this documentation is especially necessary in light of this
  11   Court’s observations of the government’s non-compliance with its obligation under
  12   the FSA to make “individualized determinations” for its parole decisions. See, e.g.,
  13   In Chambers Order (Mar. 28, 2020), Dkt. No. 740 at 10 (emphasis in original).
  14   Moreover, as the government readily acknowledges, the FSA allows Class Members
  15   to seek judicial review of decisions denying release. In order for such review to be
  16   meaningful, Class Members must have a written explanation that they can point to,
  17   examine, and marshal evidence against. Judicial review cannot work if there is noth-
  18   ing to review.
  19          B.    Other Rights Under Federal Law
  20          Amici favors keeping language stating that “you and your parents may have
  21   other rights under federal law or other authorities.” Based on its experiences on the
  22   ground, amici are concerned that Class Members may read the Notice as reflecting
  23   an exclusive description of their rights. The Notice, in fact, summarizes only rights
  24   under the FSA, and should make clear that Class Members may be able to seek relief
  25   under the Constitution, relevant asylum and refugee laws, and other regulations.
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  31      COMMENTS OF AMNESTY INT’L, HRW, AND LEGAL SERVICE PROVIDERS ON DRAFT NOTICE
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   1          C.       A Know Your Rights Should Attempt to Be as Informative As
   2                   Possible and Avoid Language That Does Not Consider ICE’s
                       Discretion To Maintain Family Unity1
   3

   4          As has previously been acknowledged, ICE always has the discretion to main-
   5   tain family unity and render a custody determination that releases a family from
   6   detention, together. To that end, LSP Amici offer the following potential examples
   7   to avoid misunderstandings:
   8

   9               •   Include - “You may be released later if your parent decides you should
  10                   be released to a suitable sponsor, or if ICE decides to maintain family
  11                   unity and release you and your parents together.” – last full paragraph
  12                   on page 1 of the Know Your Rights.
  13               •   Include - “Remember that your parents are not required to make a de-
  14                   cision about your release and you have the right to stay together. If
  15                   your parents make no decision, you may remain detained with your par-
  16                   ents unless ICE decides to maintain family unity and release you and
  17                   your parents together.” – fifth paragraph, page 2, of the Know Your
  18                   Rights.
  19
              Subsequent to that concern, LSP Amici have raised concerns that a parent
  20
       should always be able to change their mind concerning the placement of their child,
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       however, such ability is not included in the know your rights, which may be an issue
  22
       to be considered at a later date.
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        This comment is provided solely on behalf of the LSP Amici (Aldea, RAICES, and
  28   Proyecto Dilley).
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  31       COMMENTS OF AMNESTY INT’L, HRW, AND LEGAL SERVICE PROVIDERS ON DRAFT NOTICE
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   1                                       Respectfully submitted,
   2   Dated: December 3, 2020
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  31     COMMENTS OF AMNESTY INT’L, HRW, AND LEGAL SERVICE PROVIDERS ON DRAFT NOTICE
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                                #:42307


   1                            CERTIFICATE OF SERVICE
   2          I hereby certify that on December 3, 2020, I served the foregoing pleading on
   3   all counsel of record by means of the District Clerk’s CM/ECF electronic filing sys-
   4   tem.
                                              /s/ Xiao Wang
   5

   6
                                              Attorney for Amici Amnesty International
                                              USA and Human Rights Watch
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  31     COMMENTS OF AMNESTY INT’L, HRW, AND LEGAL SERVICE PROVIDERS ON DRAFT NOTICE
                               CASE NO. CV-85-4544 DMG (AGRX)
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